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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE: MILDRED C. HAILEY )
APARTMENTS DRUG AND GUN ) VARIOUS CRIMINAL NOS.1
TRAFFICKING INVESTIGATION )

AFFIDAVIT OF SPECIAL AGENT KELTAR MUI

I, Keltar Mui, being duly sworn, depose and state as

follows:
I. INTRODUCTION
l. I am a Special Agent of the Bureau of Alcohol,
Tobacco, Firearms & Explosives (“ATF”). I am submitting this

affidavit in support of the governmen€s motion that the
following individuals be detained pending trial: CERONE DAVIS,
A/K/A “JP”; DOMINIQUE FINCH, A/K/A “HEFF”; JAMES FINCH; JAVONTE
ROBINSON, A/K/A “BIGGIE”, A/K/A “BIG DOG”; FRANKLIN SAFO-AGYARE,

A/K/A “FRANKIE SO SMOOTH”; JARROD SIMMONS, A/K/A “RIZZ”; JOE

 

1 This affidavit is being filed in the following 7 cases:
(i) United States v. Cerone Davis, A/K/A “JP”, Criminal No. 18-
- ~ (ii) United States v. Dominique Finch, A/K/A “Heff” and

 

 

 

 

 

 

 

James Finch, Criminal No. 18- - ; (iii) United States v.
Javonte Robinson, A/K/A “Biggie”, A/K/A “Big Dog” and Kevin
Smith, A/K/A “Works”, Criminal No. 18- - ; (iv) United
States v. Franklin Safo-Agyare, A/K/A “Frankie So Smooth”,
Criminal No. 18- - ; (v) United States v. Jarrod Simmons,
A/K/A “Rizz”, Criminal No. 18- - ; (vi) United States v.
Joe Simmons, A/K/A “Profit”, Criminal No. 18- » ; and.,

 

(vii) United States v. Kendrick Tate, A/K/A “K-Roc”, Criminal
No. 18- -

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SIMMONS, A/K/A “PROFIT”; KEVIN SMITH, A/K/A “WORKS”; and
KENDRICK TATE, A/K/A “K-ROC” (hereinafter collectively referred
to as “the Targets”). All of the Targets have been charged with
various drug and/or gun offenses in indictments returned on
January 3, 2018. All but two of these individuals are also
alleged to have been selling cocaine base, a/k/a “crack cocaine,”
in and around the Mildred C. Haley Apartments located in Jamaica
Plain, Massachusetts. These apartments were formerly known as
the Bromley-Heath Housing Development and will hereinafter
referred to as “the Development” or “Bromley-Heath.”

2. I have been employed by ATF since September 2005. I
am responsible for the investigation of violations and
enforcement of the federal firearms laws. I am currently
assigned to Boston II Field Office, a group of Special Agents
who regularly work with state and local detectives in order to
uncover violations of laws specifically related to firearms
trafficking, firearms possession by prohibited persons, violent
crimes committed with firearms and the use of firearms in
furtherance of drug trafficking crimes, in and around the City
of Boston, Massachusetts.

3. I have received training in the field of narcotics

enforcement and investigation. I have also received training in

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the investigation of organized street gangs involved in
narcotics distribution. I have conducted and participated in
investigations involving the violation of the federal drug laws,
including 21 U.S.C. §§841 and 846 -- illegal distribution of j
narcotics and conspiracy to distribute narcotics.
4. I have participated in the investigations described in
detail below. During my work on these investigations, I have
interviewed witnesses about their knowledge of the matters
described below and reviewed consensual recordings made in the
course of controlled buys of firearms and cocaine base, a/k/a
“crack cocaine.” I have also reviewed reports prepared by agents
regarding other witness interviews, and discussed this case with
other law enforcement officers who have assisted in this
investigation. Because of my personal participation in this
investigation, my conversations with other law enforcement
officers and my analysis of reports prepared by other officers,

I am familiar with this investigation.

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5. This affidavit supports the governmenUs request that
the Targets be detained pending trial. It is provided for the
limited purpose of familiarizing the court with the Development
and the persistent problems of drug trafficking and gang-related
violence that plague the Development and its residents. It also
generally describes the ongoing investigation at Bromley-Heath
that began in 2016, and provides some background information
regarding the nine individuals that have to date been charged
with federal firearm and/or drug trafficking crimes,

6. The government is seeking detention in these cases even
though some of the younger Targets do not have lengthy adult
criminal histories. It does so because the activities described
herein are adversely affecting the quality of life for hundreds
of people who live in and around the Development and the Targets

simply will not conform their conduct to the requirements of the

 

law.
II. THE MILDRED C. HAILEY APARTMENTS, FORMERLY KNOWN AS
“BROMLEY HEATH”
7. The Mildred C. Hailey Apartment Complex is located in
Jamaica Plain, Massachusetts. It is one of many housing

developments owned and/or operated by the Boston Housing
Authority'(“the BHA”) to provide housing for low and moderate-

income residents. Notwithstanding the incidence of drug

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offenses and violent crime that occur at Bromley-Heath, I
understand that there have been and continues to be waiting
lists of individuals who seek to live in Bromley-Heath because
of the other opportunities and amenities it offers for them and
their families.2

8. One of the things that this investigation demonstrated
is the impact that drug trafficking and related crime and gang-
activity and violence has on the residents of Bromley-Heath, the
vast majority of whom have nothing to do with (and are in fact
victimized by) the criminal activities described below. During
controlled purchases of narcotics made during the course of the
underlying investigation, consensual recordings and surveillance
made it clear that innocent residents of the development are
frequently confronted with drug dealing (often being conducted
by individuals who had been ordered out of Bromley-Heath by the
BHA and the BHA Police Department) in the hallways or the
immediate environs of the apartment buildings where they and

their children live.3 Hence, like all of the ongoing efforts to

 

2 According to information provided to the U.S. Attorney's
Office by the Legal Department of the Boston Housing Authority,
waiting lists for one and two bedroom apartments at the
Development range between 4,600 and 7,249 depending on the size
and the location of the apartment sought.

3Attached to this affidavit as Exhibit 1 is a photograph taken
from the buy video made during the sale of crack cocaine made on

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curtail drug trafficking and the violence it helps to breed in
this area, a principal purpose of both the underlying
investigation and the governmen€s request that the Targets be
detained pending trial is to curtail these crimes inside the
Development and thereby improve the quality of life for its
residents.

9. Bromley-Heath is generally bounded by Centre Street,
Heath Street, Walden Street, and Columbus Avenue in Jamaica
Plain. It is one of the larger housing developments owned by
the BHA and currently houses more than 1000 residents. As
currently configured, Bromley-Heath includes a number of
Projects including what was originally known as the Heath Street
Apartments (originally constructed in 1940) and Bromley Park
(completed in 1954), and Bickford Street (built in 1964). There
have been numerous additions to Bromley-Heath and much of the
Project has undergone substantial renovations in recent years.
According to the BHA website, the Development currently consists
of 840 units ranging from 1-5 bedrooms with rents based on a
percentage of the tenant's income.

10. Bromley-Heath includes approximately 10% of the

 

July 7, 2016 inside 950 Parker Street. It shows a female who
entered a stairwell as the Target was selling crack cocaine
scurrying up the stairs.

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residents in BPD% District 13. It nevertheless accounts for a
greater amount of that distric€s crime. According to
information developed by BPD's Boston Regional Intelligence
Center (“the BRIC”), for example, between January 1, 2017 and
December 10, 2017, the area of Bromley-Heath accounted for 36
incidents of shots fired, 8 non-fatal shootings, 1 homicide, 20
drug arrests and 25 robberies.

11. The materials attached to this affidavit as Exhibit 2
document the role that Bromley-Heath has played in the crime.
committed in District E-13 between January l and December 10,
2017, These charts, prepared by BPD’s BRIC, demonstrate that in
the listed categories of crime (shootings, robberies and
attempted robberies, confirmed shots fired, drug related
arrests, and firearm arrests), the area encompassing the Project
has been plagued by high concentrations of arrests and reports

of such incidents.4

 

4Bromley-Heath has long been the target of intensive law
enforcement efforts designed to combat levels of violence and
gun and drug-related activity. BPD has long focused on this
area using a combination of efforts including directed patrols,
many long and short term drug investigations, and a wide array
of community policing efforts aimed at both identifying the
offenders and attacking the causes of the violence. BHA Police
have also actively participated in these efforts by, among other
things, seeking to exclude individuals from BHA property through
No-Trespass orders issued by members of the BHA Police
Department. Bromley Heath has also been the focus of a number

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12. There may be various explanations for the
concentration of violence at Bromley-Heath. However, it seems
undeniable that the Project also has been the locus of
significant amounts of drug activity and the location of the
city's most active gang dispute. Both of these are believed to
have substantially contributed to the levels of violence at the

Development and helped to focus investigative strategies in the

 

of previous joint federal-state operations.

In a case arising out of one of those operations, this is
how the United States Court of Appeals described the darker side
of this Housing Development:

The Bromley-Heath public housing project, operated by the Boston
Housing Authority (“BHA”), serves Boston's low-income population
in need of affordable housing. In early 2006, Bromley-Heath had
an extremely high rate of drug offenses, violent crimes, firearm
incidents, fatal shootings, and sexual assaults. Indeed, one
Bromley-Heath building, 279 Centre Street, was one of ten “red
zones” designated by the City of Boston-a red zone is a hot spot
where a number of shootings have occurred. The FBI and the
Boston Police Department (“BPD”) worked together to fight crime
in the project, trying, among other things, to reduce drug
trafficking and the violent crime it breeds. Despite the crime,
Bromley-Heath had a long waiting list of people hoping to live
there.

United States v. Gibbons, 553 F.3d 40, 41-42 (1st Cir. 2009).

 

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underlying investigation.

13. Another factor that is believed to be contributing to
the violence at Bromley-Heath is that it is the location of one `
of the city% active gang disputes involving the Heath Street
Gang (“Heath St.”). According to information generated by the
Boston Police Department, Heath St. is one of the larger gangs
in the city with nearly 100 individuals believed to be actively
associated with it. For many years, Heath St. has been involved
in an ongoing dispute with a group from the area around
Holworthy Street in Roxbury known as “H-Bloc” (as well as several
other more sporadic disputes with other area groups) that has
been one of the most active disputes in the city. §ee
“Prosecutor: Shooting Victim, 18, Mistaken for Gang Rival”
(Boston Globe April 29, 2009)(discussing Commonwealth's case
against a Heath Street member alleged to have shot a Belmont
High School student under the mistaken belief that he was an H-
Block member, in which prosecutor told a Suffolk County jury
that, at of the time of the 2009 trial, there had been 50
shootings between members of Heath Street and H-Bloc). See also

discussion at paragraph 47, below (recounting the shooting of

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Heath Street member JAVONTE ROBINSON in 2014 and the subsequent
arrest of an identified H-Bloc member for that shooting.5

14. Of course, crime committed in and around the
Development is not limited to the major crime categories already
discussed. In addition, residents of the Development are also
confronted with quality of life offenses such as trespassing,
public drinking and drug use, disorderly conduct and prolific
use of (mostly illegal) dirt bikes or other public disturbances.
Most of these crimes are committed by individuals (many of whom
are associated with the Heath Street Gang but do not live in the
Development) who persistently hang around the Development in
large groups often taking over street corners, hallways,
building entrances, play areas, or parking lots, thereby forcing
residents to go around them to get to their homes. Residents of
the Development frequently express concerns for their safety and
the quality of life within their community. Complaints of
groups of males (often individuals who may have grown up in the
area or have relatives in the area but who themselves now live

outside the Development) congregating in front of residences, in

 

5More recently, a juvenile who was alleged to have made a
delivery of crack cocaine to the cooperating witness in the
underlying investigations and who was hanging out inside 277
Centre Street during another charged buy was shot and thereafter
succumbed to his wounds.

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courtyards, and within the playgrounds of the Development are
commonplace. Heath Street members utilize areas within the
Development as open-air drug markets, and are often themselves
seen consuming marijuana and alcohol in public and in hallways
and entrances, This has led to an atmosphere of fear and
intimidation among many of the communities' residents.6 Both the
buys that were made and surveillance conducted during the course
of the underlying investigations here have corroborated these
complaints.

15. Incidents such as those reported herein continue to
plague the Development in spite of the concerted efforts of the
Boston Police Department and Boston Housing Authority Police to
patrol proactively in the Development. Known Heath Street
members and associates are routinely encountered by officers

from the BHA, BPD District E-13 and BPD's Youth Violence Strike

 

6 Among other things, it is believed that the presence of these
individuals can leave residents afraid to place calls for police
service, thereby leading to under-reporting of crime, such as
large groups congregating/trespassing in courtyards and in front
of residences for the purpose of, among other things, distributing
and using narcotics.

Moreover, when members of local street gangs like Bromley
Heath Street consistently congregate in the same areas, they put
themselves (and everyone else in the area) at an increased risk
of being victimized by firearm violence committed by rival
gangs.

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Force. However, as is most often the case during these
encounters, the officers are left with little to no enforcement
options if the encounter does not rise to the level of arrest;
the encounter is documented on a field interrogation,
observation and/or frisk report (FIO) and these individuals are
free to stay in the community.7

III. THE INVESTIGATION

 

16. Based on all of the foregoing, the current
investigations were initiated in 2016, From their inception,
the investigations have been a partnership between the Boston
Police Department (“BPD”) and the ATF. Members of the Boston
Housing Police Department also provided invaluable assistance
throughout the investigation.

17. The principal goals of the investigation were to
attack gun and drug trafficking in Bromley-Heath with particular
emphasis placed in two areas: (i) individuals who were believed
to be particularly active in street and lower-level wholesale
drug trafficking in the Project; and, (ii) individuals who were

believed to be trafficking drugs and who were independently

 

7 Even when the quality of life offenses described herein lead
to arrests, the resulting criminal charges often carry little or
no consequences in busy courts focused on offenses that are more
serious.

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involved in the violence and gang disputes. Many of the Targets
are also individuals who have persistently hung around the
Development committing the kind of quality of life offenses
described above.

18, To accomplish these goals, cooperating witnesses
UCWs”) were used to make street-level drug purchases of crack
cocaine, which appeared to be a drug of choice in the
Development. Purchases of drugs (and two firearms) were
captured on audio and video recording equipment and were
surveilled by law enforcement to the extent possible. Many
meetings and/telephone calls leading up to the meetings were
also consensually recorded.

IV. THE TARGETS

19. To date, numerous controlled purchases of crack
cocaine and two firearms have been made in the underlying
investigations, On January 3, 2018, seven federal criminal
indictments have been returned naming nine individuals on
federal drug and/or firearm charges.

20. All but seven of the nine individuals named federally
to date have been charged with conducting drug transactions
either in or within 1000 feet of the Mildred Hailey Apartments

in violation of 21 U.S C. §§841 and 860. The first of the

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remaining two Targets (FRANKLIN SAFO-AGYARE,) sold a gun less
than 1000 feet from the Development while the second (identified
Heath Street member KENDRICK TATE) sold drugs and a gun not far
from where he was then living in Chelsea.

21. The investigation confirmed many of the premises on
which was initiated. First, it confirmed that Bromley-Heath is
plagued by open-air drug trafficking that represents a threat to
the well-being of all persons who reside in the Project. During
the investigations, there were few days in which CWs tried but
failed to buy crack cocaine from Targets inside the Project.
Many of these (and other transactions) then took place within
the Project, often in hallways or entrances where other
residents must necessarily pass to go in and out of their homes,
often with their families. All but two of the charged
transactions occurred inside (or within 1000 feet of) the
Development.

22. The investigations also confirmed the obvious
connection between the Targets and Bromley-Heath. As set forth
above, many Targets list (or at one time listed) residential
addresses within the Project. All but one of the drug purchases
took place either in or within 1000 feet of Bromley-Heath. All

but one of the Targets has also been identified as a member of

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the Heath Street Gang by BPD.

23. Additional information regarding individual Targets is
set forth below.

24. DOMINIQUE FINCH a/k/a “HEFF,” iS charged With
conspiring to distribute cocaine base with his brother JAMES and
with aiding and abetting JAMES in the distribution of cocaine
base inside the Development.

25. DOMINIQUE FINCH is 27 years-old and is an identified
member of the Heath Street Gang. He has been a constant
presence in the Development over the years even though his Board
of Probation records show the he now lives outside Boston. He
has been shot twice, once in the area of the Jackson Square T
Station (immediately adjacent to the Development) and once
inside the Development. Although his Board of Probation records
state that he resides outside Boston, DOMINIQUE FINCH has been
prosecuted for Trespassing at the Development at least 6 times.

26. DOMINIQUE FINCH also has a lengthy criminal record
that includes convictions for Assault with a Dangerous Weapon,
Armed Robbery, Witness Intimidation, Assault and Battery, and
Assault and Battery with a Dangerous Weapon. He was on pretrial
release at the time that he and James Finch made the charged
sale and remains on pretrial release in Suffolk Superior Court.

27. JAMES FINCH is DOMINIQUE’S 32 year-Old brother. JAMES

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FINCH is also an identified member of the Heath Street Gang and,
like his brother, has also been a regular presence in the
development, having been FIO'd on scores of occasions inside the
Development, frequently with other Targets.

28. Unlike his younger brother, JAMES FINCH does not have
an extensive criminal record. JAMES FINCH has, however, been
repeatedly trespassed out of the Development, was prosecuted for
trespassing 4 times and has repeatedly been part of groups
congregating inside the Development that drew the attention of
other residents and the police.

29. KENDRICK TATE, a/k/a “K-ROC,” is a 25-year-old who
sold a cooperating witness crack cocaine and a firearm with an
obliterated serial number on consecutive days in April 2017.
Although TATE is an identified member of the Heath Street Gang,
he was living outside Boston at the time of these sales. On
November 1, 2017, he was convicted in Essex Superior Court on
unrelated drug and firearm charges and is presently serving a
3.5-4 year sentence in State Prison.

30. TATE's current incarceration is only the most recent
entry in a long and serious criminal record. Prior to being
convicted in Essex Superior Court for carrying a firearm and

possessing heroin with intent to distribute, TATE had been

convicted of Assault with a Dangerous Weapon (twice), Assault

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and Battery with a Dangerous Weapon, Resisting Arrest, Assault
and Battery on a Police Officer, and Possession to Distribute a
Class B Substance (twice). TATE also had Determinations of
Delinquency for Drug Distribution and Assault and Battery and
was shot in 2011 in the area of the Lenox Street Housing
Development in the South End.

31. FRANKLIN SAFO-AGYARE, A/K/A “FRANKIE SO SMOOTH,” iS a
resident of Worcester and the only Target not affiliated with
the Heath Street Gang. He is charged with being a felon-in
possession of a firearm and ammunition based on a gun sale he
made to the cooperating witness in the parking lot of the Stop
and Shop in Jamaica Plain, immediately adjacent to the
Development. Although SAFO-AGYARE indicated during that
transaction that he was willing to sell the CW more guns, he
declined to travel to Boston to do so.

32. SAFO-AGYARE is 25 years old and has multiple
convictions on his Massachusetts Board of Probation records that
include convictions for Assault and Battery to Collect a Loan,
Carrying a Firearm and Ammunition, Assault with a Dangerous
Weapon (Gun), Resisting Arrest, Possession of a Class A
Substance. SAFO-AGYARE currently has an open case in state
court for Possessing a Class B Substance with Intent to

Distribute and Resisting Arrest.

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33. CERONE DAVIS, A/K/A “JP,” is 25 years old and is an
identified member of the Heath Street Gang. He is charged with
one count of Distributing Crack Cocaine within 1000 feet of the
Development. The charged transaction is one of two crack
cocaine sales DAVIS made during a 10-day period in April 2017.
The latter buy took place in the Development even though DAVIS
was the subject of a prior No Trespass Order issued by BHA
Police Officers and Davis did not appear to reside inside the
Development. During one buy, DAVIS expressed an interest in
getting involved in “OT” or “out of town” sales of crack cocaine
with the cooperating witness.

34. DAVIS has a limited criminal record. Most recently,
however, he was arrested on August 31, 2017 in Westbrook, Maine
after police responded to an advertisement for a prostitute in
Backpage.com and the defendant agreed to bring female to
Westbrook, Maine to provide sex for $300.

35. When DAVIS and co-defendant Ismail Abraham (who
provided a residential address at the Development) arrived in
Westbrook at agreed location with the female pictured in the
Backpage ad, they were approached by the police. When the
police dialed the number from the Backpage ad, DAVIS' phone
rang. DAVIS and Ibrahim were charged with sex trafficking and

the female was charged with Engaging in Prostitution.

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36. According to the police report, a Subpoena to Backpage
produced six additional advertisements using the same email
address and listing Portland as a location with one or more
different women. A search warrant for Defendant's phone
included a text message thread where Defendant solicited a
prostitute and numerous discussions involving the use of
marijuana and cocaine.

37. JOE SIMMONS, A/K/A “PROFIT,” is the 30-year-Old
brother of JARROD SIMMONS. JOE SIMMONS is charged with a single
count of distributing cocaine base inside the Development, one
of two sales he made in the underlying investigations. During
the first sale on 4/14/17, JOE SIMMONS told the cooperating
witness he could supply him with “eight balls all day” and would
“take care” of the cooperating witness. JOE SIMMONS is also an
identified member of the Heath Street Gang even though his Board
of Probation Records indicates that he lives outside the
Development.

38. JOE SIMMONS also has a substantial criminal record
that includes two prior drug trafficking offenses along with
convictions for Assault and Battery (twice), Possession of a
Firearm, Assault and Battery with a Dangerous Weapon, Resisting
Arrest, Threats, and Drug Possession. He has repeatedly

committed crime while under criminal justice supervision and

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violated probation twice in a single case.

39. JARROD SIMMONS, A/K/A “RIZZ,” is the 21-year-Old
younger brother of JOE SIMMONS. JARROD SIMMONS is charged with
a single count of distributing cocaine base in the Development,
a sale set up by JAVONTE ROBINSON. JARROD SIMMONS made one other
sale during the underlying investigations.

40. Like his older brother, JARROD is an identified member
of the Heath Street Gang. His involvement was confirmed by
numerous Facebook postings showing him in the company of other
Heath Street Members inside the Development. JARROD was
trespassed out of the Development in 2014 but still came to a
cooperating witness' apartment inside the Development to make
the charged sale of crack cocaine.

41. On March 9, 2016, BPD's Citywide Drug Control Unit
executed a search warrant at JARROD SIMMONS's residence and
located JARROD SIMMONS and his girlfriend in locked bedroom. In
the resulting search, the police recovered a loaded Jimenez 9mm
firearm, 2 bags of marijuana, a digital scale, an IPhone, a bag
of suspected crack cocaine, a second bag that held 19
individually wrapped pieces of suspected crack cocaine, and
$498. Other items recovered from the same bedroom included
papers in his name, two cellphones, and one IPad.

42. During the charged buy (that took place while JARROD

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SIMMONS was on pretrial release for the offenses described in
the preceding paragraph), JARROD SIMMONS acknowledged that he
was wearing an ankle bracelet and had an 8pm curfew. He was
later convicted of both gun and drug offenses in connection with
that same case and is presently on two years' probation.

43. KEVIN SMITH, A/K/A “WORKS,” is a 27-year-old who is
also an identified member of the Heath Street Gang. He is
charged with aiding and abetting the sale of cocaine base made
by JAVONTE ROBINSON on March 24, 2017 that took place within
1000 feet of the Development. SMITH also either sold or aided

and abetted two other sales during the underlying

investigations.
44. SMITH has prior convictions for Carrying a Firearm and
Resisting Arrest (twice). After serving 18 months on his

firearm/resisting arrest case, he violated probation twice and
was sent back to jail for another 9 months.

45. SMITH has also been a fixture in and around the
development for many years. Although BPD Reports indicate that
he was on the Boston Housing Authority's No Trespass List for
years, they also show that he has been arrested in the hallways
or courtyards of the Development at least 7 times. On four of
those occasions, individuals were either smoking marijuana or

drinking inside the Development. During the most recent such

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incident, officers also recovered a black M-Tech spring loaded
knife from SMITH. Weapons charges arising out of this incident
were later dismissed.

46. JAVONTE ROBINSON, A/K/A “BIG DOG,” A/K/A “BIGGIE,” Was
one of the most active dealers during these investigations. He
is charged with a single count of distributing cocaine base in a
deal set up by KEVIN SMITH. He also set up a sale for JARROD
SIMMONS and sold more crack to the cooperating witness during
the underlying investigations.

47. ROBINSON is 21-year-old identified member of the Heath
Street Gang. He was shot in the chest in 2014 while in the
Development but told the police he did not know who shot at him.
An arrest was made later that day. BPD has identified the
individual charged with that shooting as a member of the H-Bloc
gang.

48. Police also responded to ROBINSON' home 60 days later.
ROBINSON’s mother reported that ROBINSON had stolen her wallet
the previous day and reported that her son was “heavily gang
involved.” After a meeting with ROBINSON in the fall of 2016,
the cooperating witness reported that ROBINSON told the CW he
had recently lost four friends including one who was the victim

of a homicide.8 ROBINSON appeared to be distraught and told the

 

8 In the December 30, 2017 Boston Globe, the paper reported that

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CW he had a “chopper” (a street name for a high-powered assault
rifle such as an AR-15) and nine other guns on the way to “the
Projects” and intended to retaliate against anyone with whom he `
had a personal beef. 1
49. BOP Records reflect that ROBINSON has been FIO'd in
the Development more than 50 times since 1/1/15 and that he is
frequently in the company of other Targets.
I hereby certify under the pains and penalties of perjury

that the foregoing is true to the best of my information,

knowledge, and belief this ii dayd;;:§;;§;§?j 2018.

I€§LTAR MUI

Special Agent

Bureau of Alcohol, Tobacco,
Firearms & Explosives

 

the number of teenagers murdered in 2017 had doubled from the
previous year and used as an example the murder of a 16 year-old
who was killed on Halloween night “in a housing development in
Jamaica Plain.”

23

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EXHIBIT l '

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EXHIBIT 2

 

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B R l c -. _ ! Bromley 1500' Buffer

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Heath St. Ana|ysis Area
1500' Buffer from Center of Development Parce|

 

 

 

 

 

 

 

 

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January lst- December lnth, 261?
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Han-|Fata| Shaatmgs E
Fiv'earm arrests l{l
Drug Attests 20
Ea-l:beries 251
Cam“ilrmed 5hats Fired {B;allis.tics} 35

 

 

 

**Above statistics reflect incidents / arrests that occured Within the above analysis area YTD 2017.
Drug and Firearm arrest data includes both new charges and Warrant arrests for past drug and firearm offenses **

 

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Legend

 

' Center of Bromley Parce|
l Bromley 1500' Buffer

 

 

 

 

 

 

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:': §§: YTD 2017 Citywide Shooting Hotspot
BOSTONREGIONAL Bromley Heath 1500' Buffer Gver|ay

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Legend §

 

Center of Bromley Parce|
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: YTD 2017 CityWide Shooting Hotspot

BOSTONMGIONAL Bromley Heath 1500' Buffer Over|ay.

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Jan 1, 2017 - Dec 10, 2017

|:___| Low Density

Robbery & Attempted = 1
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Jan 1, 2017 - Dec 10, 2017

 

 

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Drug Re|ated Arrests
lan '1, 2017 - Dec 10, 2017

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Firearm Arrests

lan 1, 2017 - Dec 10, 2017

 

 

 

 

 

 

 

 

 

